Case 2:02-cr-20295-BBD Document 74 Filed 08/29/05 Page 1 of 6 Page|D 68
UNITED STATES DISTR|CT COURT

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05 AUG 25 PH 23 l'l
uNlTF_o sTATEs oF AMERch
-v- 2:02cR20295-01-D CLE:"F_`;

 

JAcKlE MCCRAVEN

Randol|:_)h Aldenl FPD

Defense Attorney
200 Jefferson, Ste. 200_
Mamphis, TN 38103

 

**SECOND AMENDED** JUDGMENT |N A CR|MINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 and 2 of the |ndictment on April 28, 2003.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

 

 

Date Count
Title & section Nature of Ot"fense Offense Number¢sj
Concluded
21 U.S.C. § 841 (a)(1) Possession with the intent to Distribute 10/15/2001 1
Cocaine
18 U.S.C. § 922(g) Fe|on in Possession of a Firearm 10/15/2001 2

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the N|andatory
Victims Restitution Act of 1996

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until ali
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 02/01/1960 September 26, 2003
Deft’s U.S. Marsha| No.: 08215-076

Defendant’s lVIai|ing Address: ‘

4858 Summerlane
Memphis, TN 38113 <M/M
fn
BERN|CE B. DONALD

t d on the docket sham ~n »- UNITED STATES D|STR|CT JUDGE
“' mmnt an are , _ _ /\

 

 

qndloraeib) FRCrP °" -- August if , 2005

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Case No: 2:02CR20295-01 Defendant Name: Jackie MCCRAVEN Page 2 of 5

IMPRlSONMENT

The defendant is hereb

y committed to the custody of the United States Bureau of
Prisons to be imprisoned for a

term of 60 Months, to run concurrent|y.

The Court recommends to the Bureau of Prisons:

1. The defendant shall participate in the Residential Drug Abuse Treatment
Program in the Bureau of Prisons.

2. That the defendant be designated to a facility as close to Memphis, TN as
possible.

**3. That the defendant be considered for

alternative confinement as soon as
possible.

The defendant is remanded to the custody of the United States Marshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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Case No: 21020R20295-01 Defendant Name: Jackie MCCRAVEN Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised reiease, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the Hrst five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, cr other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administerany narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:020R20295-01 Defendant Name: Jackie MCCRAVEN Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ocher;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notificaticns and to confirm the defendant’s compliance with such
notification requirement.

13. if this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
tha the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Crimina| Monetary Penaities sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependencywhich may include testing forthe detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Ofticer. *The defendant shall
submit to drug screening as directed by the Probation Ofticer.

2. The defendant shall seek and maintain lawful full-time employment
3. The defendant shall cooperate with DNA collection as directed by the Probation Ofticer.
4. The Probation Officer shall have permission to make unannounced visits upon the

defendant

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CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ai| of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$200.00*(PA|D)

 

 

The Special Assessment shall be due immediately.
FlNE
No fine imposed
REST|TUT|ON

No Restitution was ordered .

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 74 in
case 2:02-CR-20295 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

